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              EXHIBIT B
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                 HTC CORPORATION’S UPDATED TRIAL WITNESS LIST

         Defendant HTC Corporation (“Defendant”) hereby submits its updated trial witness list

 under Federal Rule of Civil Procedure 26(a)(3)(A) and the Eighth Amended Docket Control Order

 (D.I. 212). Defendant makes no representation that each of the witnesses in this identification will

 ultimately be able to attend the trial. Defendant does not know the precise nature or scope of the

 testimony and evidence that Plaintiff may seek to present at trial or which witnesses will be

 available to testify at trial. As such, Defendant reserves the right to modify, amend or supplement

 this identification throughout the balance of this case based on case developments, including but

 not limited to the right to (1) not call certain of the listed witnesses, (2) call live or by deposition

 as its witness at trial any witnesses necessary to authenticate or lay the foundation for the

 introduction of documents to which Plaintiff objects (including but not limited to custodians of

 records or authors of prior art). Defendant also reserves the right to supplement or modify this

 rebuttal in response to rulings by the Court (including on any motions). Defendant identifies herein

 individuals who may be listed on Plaintiff’s witness list without prejudice to Defendant’s right to

 object to Plaintiff’s presentation of those witnesses at trial, to the admissibility of all or part of

 those witnesses’ testimony, or Defendant’s right to move for the exclusion of those witnesses’

 testimony. Subject to the foregoing, Defendant identifies the following witnesses for trial at this

 time:




                                                    1
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 I.        HTC’S WITNESSES

                                                           DESIGNATION
                                                                             MAY, BUT
                                                                             PROBABLY
           WITNESS                             WILL CALL     MAY CALL
                                                                             WILL NOT
                                                                               CALL
      1.   Andrew Wolfe                         X (live)
      2.   Christopher Bakewell                 X (live)
      3.   Nigel Newby-House, HTC Corp.
                                                X (live)
           Representative
      4.   Hsiu Fen Lai                                       X (live)
      5.   Tung Shan Wei                                      X (live)
      6.   Ho Chia Chu                                        X (live)


 II.       SALAZAR’S WITNESSES

                                                           DESIGNATION
                                                                             MAY, BUT
                                                                             PROBABLY
           WITNESS                             WILL CALL     MAY CALL
                                                                             WILL NOT
                                                                               CALL
      7.   Joe Andrew Salazar                               X (live or via
                                                             deposition)
      8.   Any witnesses properly identified                X (live or via
           by Plaintiff on its witness list                  deposition)




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 III.   THIRD-PARTY WITNESSES

                                                   DESIGNATION
                                                                   MAY, BUT
                                                                   PROBABLY
        WITNESS                       WILL CALL      MAY CALL
                                                                   WILL NOT
                                                                     CALL
   9.   Robert L. Meyers                               X (via
                                                     deposition)
  10.   Sivasubramanian                                X (via
        Muthukumarasamy                              deposition)




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